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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                            CRIMINAL ACTION


VERSUS                                                                              NO. 15-154


PRICE, ET AL.                                                                       SECTION A(3)



                                    ORDER AND REASONS

       Defendant Terrioues Owney moves to suppress the cell site information for

phone number (504) 373-8168 and all fruits of the information. Owney contends that the

information was obtained without a court order or a warrant and therefore violates 18

U.S.C. § 2703(c)-(d) and the Fourth Amendment. The motion pertains specifically to

data obtained between December 17, 2010 and December 21, 2010.

       The motion is moot as to the § 2703(d) order. The Government promptly

produced the correct § 2703(d) order when Owney filed his motion to suppress. Prior to

the filing of the motion, another order had been produced in error.

       The motion is denied as to the Fourth Amendment argument in light of In re

United States for Historical Cell Site Data, 724 F.3d 600, 615 (5th Cir. 2013), which

holds that § 2703(d) orders that do not rise to the level of the Fourth Amendment’s

probable cause standard are not per se unconstitutional. This decision is the law in this

circuit until such time as the United States Supreme Court would declare otherwise.




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      Accordingly;

      IT IS ORDERED that the Motion to Suppress Cell Site Location Information

(Rec. Doc. 512) is DENIED.

      August 29, 2016.




                                                   __________________________________
                                                             JUDGE JAY C. ZAINEY
                                                       UNITED STATES DISTRICT JUDGE




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